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                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
               v.                                             No. 07-4059 (L)
                                                        *
        PAULETTE MARTIN, et al.
                                                        *

        *      *       *       *        *      *        *     *        *       *        *     *       *

                                      MOTION FOR LEAVE TO PROCEED
                                        UNDER LOCAL RULE 30 ( c))

                       Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead appellate counsel for the five other Appellants herein, and does move for leave to

        proceed under Local Rule 30 ( c), and to defer the filing of the joint appendix in this matter, and in

        support thereof does state:

                1.     Within the past sixty days, new counsel, Daniel Goodman, Esq., United States

        Department of Justice, recently has entered his appearance for Appellee and requires time to

        assimilate this massive case.

                2.     A consent motion to extend the time for the filing of the Joint Brief has been filed

        contemporaneously herewith. In that the JA usually would be filed with the Joint Brief, this would

        require counsel for Appellee to be able to identify materials for inclusion from a voluminous record

        within a very brief time frame; trial in this matter lasted twelve weeks, and the transcript is 9700

        pages in length. This would be at best unreasonable, and lead counsel for Appellants believes that

        impossible would be a more appropriate adjective.
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                3.      Upon request by and with the consent of counsel for Appellee, lead counsel for

        Appellants is filing this Motion, so as to permit counsel for Appellee enough time to address the JA

        materials. Counsel for Appellant is prepared to file the Joint Brief twice, in page-proof format and

        in final format.

                4.      Counsel for Appellant therefore requests, pursuant to Local Rule 30 ( c), that

        Appellants be permitted to file a page proof brief, and to defer the filing of the joint appendix for an

        initial period of at least 60 days, so as to permit counsel for Appellee to ascertain the materials he

        will desire to add to the JA.

                5.      Counsel for Appellant is authorized to state that counsel for Appellee consents to the

        grant of the requested relief.

                                                         Respectfully submitted,



        October 14, 2010                                         /s/
                                                         MICHAEL D. MONTEMARANO

                                                         Michael D. Montemarano, P.A.
                                                         5695 Main Street, Suite 201
                                                         Elkridge, Maryland 21075-5016
                                                         (410) 379-0067/Fax 540-9950
                                                         Counsel of Record/CJA Counsel
                                                               For Appellant

                                          CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on or before this 14th day of October, 2010, a copy of the
        foregoing Motion For Leave to Proceed Under Local Rule 30 ( c) was filed via CM-ECF, and served
        via direct email, on Daniel Greenberg, Esq., US Department of Justice, Criminal Appellate Section,
        1264 Main Building, 950 Pennsylvania Avenue, NW, Washington, DC 20530.

                                                                /s/
                                                         MICHAEL D. MONTEMARANO


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